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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


 MALIBU MEDIA, LLC,
                                                         Civil Action No. 3:17-cv-02154-MPS
                          Plaintiff,

 v.

 [REDACTED],

                          Defendant.

                                       JOINT STATUS REPORT

      Plaintiff, Malibu Media, LLC (“Plaintiff”) and Defendant, [REDACTED] (“Defendant”), by

and through their undersigned counsels and pursuant to this Honorable Court’s Scheduling Order

of October 26, 2018 [CM/ECF 29], hereby submit this Joint Status Report.

      (a) The status of the case, describing the status of discovery and identifying any pending
          motions and any circumstances potentially interfering with the parties’ compliance with
          the Scheduling Order;

         The parties are currently conducting discovery. In 2018, the Defendant propounded, and
         Plaintiff responded to Defendant’s Request for Production. Plaintiff has propounded
         interrogatories, requests to produce, and request for admissions on May 9, 2019.
         Defendant’s responses are due June 10, 2019. On May 9, 2019, Plaintiff also requested
         dates for deposition of Defendant in June, but Defendant will not be available until July.
         There are no pending motions.

      (b) Interest in referral for settlement purposes to a United States magistrate Judge or to the
          District’s special masters program;

         The Plaintiff would propose private mediation at the end of discovery. The Defendant
         suggests that a Magistrate Judge would be helpful, particularly as no activity occurred on
         this case for more than six months.

      (c) Whether the parties will consent to a trial before a United States Magistrate Judge; and

         The parties will not consent to a trial before a United States Magistrate Judge.

      (d) The estimated length of trial.
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       The estimated length of trial is four (4) days.

Dated: May 14, 2019

Respectfully submitted,

By:     /s/ Kevin T. Conway                                     By:     /s/ Charles Lee Mudd, Jr.
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                                                                Attorney for Defendant




                                CERTIFICATE OF SERVICE

        I hereby certify that on May 14, 2019, I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and
interested parties through this system

                                                         By: /s/ Kevin T. Conway




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